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                           Impact of Pesticide Exposure Misclassification on Estimates of
                           Relative Risks in the Agricultural Health Study
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                           Abstract
                                Background—The Agricultural Health Study (AHS) is a prospective study of licensed pesticide
                                applicators (largely farmers) and their spouses in Iowa and North Carolina. We evaluate the
                                impact of occupational pesticide exposure misclassification on relative risks using data from the
                                cohort and the AHS Pesticide Exposure Study (AHS/PES).
                                Methods—We assessed the impact of exposure misclassification on relative risks using the range
                                of correlation coefficients observed between measured post-application urinary levels of 2,4-
                                dichlorophenoxyacetic acid (2,4-D) and chlorpyrifos metabolite and exposure estimates based on
                                an algorithm from 83 AHS pesticide applications.
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                                Results—The correlations between urinary levels of 2,4-D and chlorpyrifos metabolite and
                                estimated exposure intensity scores from the expert-derived algorithm were about 0.4 for 2,4-D
                                (n=64), 0.8 for liquid chlorpyrifos (n=4), and 0.6 for granular chlorpyrifos (n=12). Correlations of
                                urinary levels with individual exposure determinants (e.g., kilograms of active ingredient used,
                                duration of application, or number of acres treated) were lower and ranged from −0.36 to 0.19.
                                These findings indicate that scores from an a priori expert-derived algorithm developed for the
                                AHS were more closely related to measured urinary levels than the several individual exposure
                                determinants evaluated here. Estimates of potential bias in relative risks observed in the AHS
                                based on the correlations from the AHS/PES and the proportion of the AHS cohort exposed to
                                various pesticides indicate that nondifferential misclassification of exposure using the algorithm
                                would bias some estimates toward the null, but less than the misclassification associated with
                                individual exposure determinants.
                                Conclusions—Based on these correlations and the proportion of the AHS cohort exposed to
                                various pesticides, the potential bias in relative risks from nondifferential exposure
                                misclassification is reduced when exposure estimates are based on an expert algorithm compared
                                to estimates based on separate individual exposure determinants often used in epidemiologic
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                                     studies. Although correlations between algorithm scores and urinary levels were quite good (i.e.,
                                     correlations between 0.4 and 0.8), exposure misclassification would still bias relative risk
                                     estimates in the AHS towards the null and diminish study power.
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                               Introduction
                                               Exposure misclassification can limit the validity and precision of epidemiologic studies and
                                               diminish power to detect associations. The theory and mechanics of misclassification are
                                               well described1–3 and the impact of exposure misclassification on relative risk estimates can
                                               be large.4,5 In the AHS, as in many epidemiologic studies, there is no “gold standard” for
                                               exposure. In these cases, it is useful to relate estimates of exposure with actual
                                               measurements of current exposures (even if only at a single point in time) to provide an
                                               indication of the degree of exposure misclassification associated with surrogate indicators
                                               for exposures. Information from such methodologic efforts is of considerable assistance in
                                               the interpretation of epidemiologic data.

                                               The Agricultural Health Study (AHS) is a long-term, prospective cohort study of licensed
                                               pesticide applicators and their spouses in Iowa and North Carolina.6 The purpose of this
                                               paper is to use information from the AHS Pesticide Exposure Study (AHS/PES),7 which
                                               compares urinary levels of pesticides with exposure estimates based on an expert-derived
                                               algorithm8 and with several individual exposure determinants (kg of active ingredient used,
                                               hours of mixing and application, and number of acres treated) to evaluate effects of exposure
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                                               misclassification on estimates of relative risks in the AHS.

                               Methods
                                               Information on pesticide use and application procedures in the AHS was obtained by self-
                                               administered questionnaires (available at http://www.aghealth.org/questionnaires.html).
                                               Questionnaire information obtained at enrollment on pesticide use included pesticides used,
                                               application methods, mixing and applying, proportion of time personally mixed pesticides,
                                               first year of use, number of years and days per year personally applied, application method,
                                               and use of protective equipment. Information obtained on specific pesticides included ever
                                               used, mixing and application method, years used, average days per year of use, and first year
                                               of use. Monitoring information from the literature and from Pesticide Handlers
                                               Exposure Database was used to develop weights for important a priori exposure determinants
                                               identified from the literature, including mixing, application method, repair of application
                                               equipment, and use of personal protective equipment.8 These weights were applied to
                                               information on pesticide use practices from AHS questionnaires to create quantitative
                                               pesticide exposure intensity scores. These scores were multiplied by the lifetime days of
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                                               specific pesticide use to create intensity-weighted exposure metrics that have been used in a
                                               number of epidemiologic papers on various outcomes from this cohort (the AHS
                                               bibliography is available at: http://www.aghealth.org/.

                                               Details of the AHS/PES monitoring effort and algorithm assessment study are provided
                                               elsewhere.7,9 Briefly, the AHS/PES participants were individuals who had completed the
                                               AHS five-year follow-up interview between 1998 and 2003, had reported use of 2,4-D or
                                               chlorpyrifos, resided in selected counties in Iowa and North Carolina, and indicated they
                                               intended to use a product containing 2,4-D or chlorpyrifos during the upcoming season.
                                               Urine spot samples and 24-hour accumulations were collected prior to, during, and after an
                                               application of the target pesticides and analyzed for levels of 2,4-D and 3,5,6-trichloro-2-
                                               pyridinol (TCP) (a metabolite of chlorpyrifos). These pesticides were selected for the
                                               assessment study because they are important agricultural chemicals worldwide, used by
                                               many AHS participants with several different application methods, and may impact human


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                                           health.10,11 The AHS/PES participants provided information on application practices at the
                                           time of application and, in addition, the AHS/PES monitoring team recorded application
                                           practices. Both sources of information and individual exposure determinants, were used to
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                                           create exposure intensity scores using the previously developed algorithm8, and each score
                                           was compared to post application urinary levels of 2,4-D and the chlorpyrifos metabolite
                                           (TCP) using Spearman correlation coefficients. Spearman rank order correlation values were
                                           calculated because the urinary biomarker measurements were not normally distributed and
                                           because a linear relationship between biomarker measurement and exposure intensity scores
                                           could not be assumed. In addition, the algorithm scores are not fully continuous because the
                                           algorithm variable weighting factors are combined in certain discrete combinations. The
                                           pesticide exposure section of the AHS/PES questionnaire mimicked that from the five-year
                                           followup questionnaire administered to the full cohort and included questions on
                                           determinants used in the algorithm.8 Urinary concentrations have also been compared with
                                           several individual determinants.7,12

                                           We assessed the impact of exposure misclassification on relative risks from the range of
                                           correlation coefficients (0.20, 0.40, and 0.70) observed between measured urinary levels of
                                           2,4-D and chlorpyrifos and the algorithm scores, or individual exposure determinants. We
                                           considered nine scenerios based on proportions of applicators in the AHS reporting use of
                                           various pesticides (i.e., 20%, 40%, and 70%), a range of sensitivities that are possible with
                                           correlation coefficients of 0.20, 0.40, and 0.70, and on the range of relative risks that have
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                                           been observed in the AHS are often seen in epidemiologic investigations (0.5, 1.0, 2.0, and
                                           3.0). The calculations for relative risk attenuation based on these parameters are described in
                                           the appendix. This study was approved by the National Institutes of Health Special Studies
                                           Institutional Review Board (SSIRB), protocol number OH93-NC-N013, and also by
                                           Institutional Review Boards at the University of Iowa, Westat, Inc., RTI International, and
                                           Battelle, Inc. Informed consent was obtained from all participants prior to enrollment.

                               Results
                                           Urinary biomarker measurement results have been previously reported for 2,4-D and
                                           chlorpyrifos applicators in the AHS/PES7,9. Geometric mean (geometric standard deviation)
                                           values in post-application urine samples were 25 (4.1) μg/L for 2,4-D applicators and 11
                                           (2.3) μg/L TCP for chlorpyrifos. There was considerable range among the post-application
                                           measurements (greater than 600-fold for 2,4-D applicators (1.6 – 970 μg/L) and greater than
                                           30-fold for chlorpyrifos applicators (2.5 – 80 μg/L)). Post-application geometric mean TCP
                                           levels for chlorpyrifos applicators were over seven times higher than geometric mean levels
                                           in the U.S. adult general population in the 2001 – 2002 period13. Geometric mean values for
                                           2,4-D in the U.S. general population are not available due to the preponderance of non-
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                                           detect values, but post-application geometric mean 2,4-D levels for 2,4-D applicators were
                                           about 20 times greater than the 95th percentile level in the U.S. adult general population13.
                                           Exposure intensity algorithm scores based on questionnaires were 10.3 ± 4.6 (range 1.8 –
                                           20) for 2,4-D applicators and 9.4 ± 2.6 (range 6.6 – 14) for chlorpyrifos applicators.9

                                           Spearman correlations between post application urinary levels of 2,4 D and chlorpyrifos
                                           metabolites and estimated exposure intensity scores based on monitoring team observations
                                           of AHS/PES participant activities were 0.39 for 2,4-D, 0.80 for liquid chlorpyrifos, and 0.60
                                           for granular chlorpyrifos (Table 1).9,12 Results were similar using exposure intensity scores
                                           based on information from participant-completed questionnaires with correlations of 0.42
                                           for 2,4-D, 0.80 for liquid chlorpyrifos, and 0.58 for granular chlorpyrifos. Table 2 provides
                                           Spearman correlations between urinary levels of 2,4-D or chlorpyrifos metabolite among
                                           study participants and individual determinants of pesticide exposure used in some
                                           epidemiologic studies, e.g., kg of active ingredient, hours spent mixing and applying, and


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                                           number of acres treated.12 These correlation coefficients were quite low and none was
                                           statistically significant. The correlations for 2,4-D were all less than 0.1 and those for
                                           chlorpyrifos were 0.19 for kg of active ingredient, −0.28 for hours of use per day, and −0.36
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                                           for acres treated.

                                           Figure 1 shows the impact of exposure misclassification on relative risks considering the
                                           correlation between urinary levels and exposure estimates noted above and relative risks in a
                                           range relevant to the published results from the AHS. Correlations between estimated
                                           exposure intensity scores and urinary levels of 0.2 or less (dotted lines) and sensitivities of
                                           0.9 or less would depress the relative risks considerably. Some lines do not provide
                                           information across the full range of possible sensitivities because they are undefined for
                                           certain combinations of prevalence of use, sensitivity, specificity, and correlation
                                           combinations. Many relative risks are so close to the null value that a reasonable
                                           interpretation would be that no association exists. For correlations of 0.4 (dashed lines),
                                           observed relative risks for the different sensitivity and exposure misclassification categories
                                           are somewhat closer to the true relative risks than for correlations of 0.2, but they still show
                                           substantial attenuation toward the null for sensitivities of 0.9 or less. Only for correlations of
                                           0.7 (solid lines) do the observed relative risks approach the true relative risks. For true
                                           relative risks of 1.0, misclassification described here does not bias the relative risk
                                           regardless of the proportion exposed or the magnitude of the exposure misclassification, i.e.,
                                           the estimated relative risk is always 1.0 and non-differential misclassification cannot create a
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                                           positive association.

                               Discussion
                                           Studies have evaluated the reliability and validity of farmers’ self-reports of their pesticide
                                           application activities.14–16 The reliability of farmers’ recall of the types of pesticides used is
                                           between 60% and 80% for most pesticides.14 Farmers can also provide considerable detail
                                           regarding their application practices, although as the questions get more detailed the
                                           reliability decreases.14 Reliable reporting of the fact of pesticide use and application
                                           technique does not, however, provide assurance that exposure metrics and, more
                                           importantly, dose can be accurately estimated from such questionnaire data. Dose, i.e., the
                                           concentration at the target tissue, is the ultimate metric of interest in epidemiologic studies,
                                           but is largely unmeasurable.17 Exposure and biologic factors both influence dose. Only one
                                           metabolite of chlorpyrifos (TCP) was monitored in the urine in this study and the
                                           concentration of other metabolites might also be important for health outcomes, although
                                           TCP is the major chlorpyrifos metabolite in humans. Chemical-specific biologic factors at
                                           the individual level, such as permeability of the skin and other tissues of first contact and
                                           metabolism are important, but largely unavailable for epidemiologic studies. Some
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                                           information on exposure factors, such as type and condition of the equipment, use of
                                           protective equipment, type of clothing, and application rate, can be obtained by interview,
                                           but with reporting error. Estimates of pesticide exposure in the AHS were developed from
                                           an algorithm that included determinants that appeared, based on the literature, to affect
                                           exposure.8 A concern about exposure estimates based on an algorithm is that the error
                                           associated with each determinant might multiply to something quite large and unreliable. If
                                           this was true, use of a simple, single exposure determinant might be preferable to a more
                                           complicated algorithm. Thus, an indication of the magnitude of misclassification from
                                           exposure estimates based on an algorithm derived from several determinants versus
                                           estimates based on a single determinant, e.g., acres treated, hours spent mixing and applying,
                                           or amount of active ingredient used, is essential for sound interpretation of data from
                                           epidemiologic studies and to provide guidance regarding exposure estimation efforts in
                                           future studies.18



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                                           Data from the recent AHS/PES methodologic study found moderate to high correlations
                                           (r=0.39 to 0.80) between measured levels in the urine and algorithm-derived estimates of
                                           pesticide exposure intensity based on information from self-reports by study participants or
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                                           from observations by AHS/PES investigators during the monitoring of pesticide mixing and
                                           application activity.9 These correlations between urinary levels and algorithm scores are
                                           similar to those reported for 2,4-D, glyphosate, and MCPA elsewhere19–21 It is important to
                                           keep in mind that comparison of observational data and monitoring data collected at the time
                                           of application does not provide direct information on farmers’ ability to recall past use of
                                           pesticides, which is critical for examining relationships between chronic diseases and
                                           pesticide exposure. Whatever the correlation is between urine measurements and a farmer’s
                                           reporting of specific pesticide activities at the time of monitoring, it is likely that correlation
                                           with application activities in the past would be weaker because of increased uncertainty that
                                           occurs with the passage of time. Inclusion of frequency or duration of use of pesticides in
                                           cumulative exposure indices could introduce further misclassification that would typically
                                           lead to under-estimates of risk, as has been shown elsewhere.22 On the other hand, it is also
                                           possible that recall of the details of pesticide use over many growing seasons might provide
                                           a better estimate of cumulative exposure over a long time period than a biologic
                                           measurement of exposure from a single application, particularly because urinary levels from
                                           non-persistent pesticide exposure reflect only recent use and are not necessarily a measure of
                                           long-term use. Several conclusions can be drawn from the evaluation of the impact of
                                           exposure misclassification on estimated relative risks in the AHS. First, the correlations
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                                           between questionnaire, or observer information on pesticide use, and measured urinary
                                           levels are in the range found for other factors that are usually considered to be reliably
                                           obtained for epidemiologic studies, such as tobacco and alcohol use, diet, physical activity,
                                           and health assessments.23–28 Second, exposure estimates from an algorithm based on several
                                           determinants thought to affect exposure are more highly correlated with measured levels of
                                           these pesticides in the urine than some specific individual determinants (i.e., kg of active
                                           ingredient used, hours of mixing and application, or number of acres treated) and would
                                           result in less attenuation of relative risks. In fact, in this example the correlations between
                                           these individual determinant measures and urinary levels of 2,4-D are so low (less than 0.1)
                                           that even if the true relative risk was 3.0, the calculated relative risk would only be about
                                           1.1, making it very unlikely that any epidemiologic study could detect an association. The
                                           correlations between these individual determinants and urinary levels of chlorpyrifos are
                                           somewhat larger (-.36 to 0.19) than for 2,4-D (−0.09 to 0.09), but they are still considerably
                                           less than found for exposure intensity estimates based on the algorithm.8 Third, the stronger
                                           correlations between urinary levels and algorithm exposure scores (e.g., 0.4 or 0.5) would
                                           still result in considerable attenuation of observed relative risks. For example, if the
                                           correlation between algorithm exposure intensity scores and measured urinary levels was 0.4
                                           and the true relative risk was 3.0, the observed relative risks would be between 1.3 and 1.9
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                                           when sensitivity is in the 60 to 80% range. For a true relative risk of 2.0, the observed
                                           relative risks from correlations of 0.2 or 0.4 never rise above 1.4. For true relative risks of
                                           0.5, correlations from 0.2 to 0.4 between exposure estimates and measurements yield
                                           estimates of relative risk between 0.7 and 0.9. All of these observed relative risks are in a
                                           range where a reasonable interpretation would be that no important association exists. In the
                                           AHS/PES exposure studies, only evaluation of chlorpyrifos in the liquid formulation had a
                                           correlation of 0.7 or greater and this may be inaccurate because the sample size was very
                                           small. The attenuation of relative risks from exposure misclassification would also reduce
                                           study power, which would necessitate larger investigations to meet study objectives.

                                           There are additional considerations in assessing the accuracy of estimates of exposure
                                           intensities used in epidemiologic studies. First, for many chronic diseases, it is generally
                                           assumed that the critical exposure window occurs many years in the past. The correlations
                                           between estimates of exposure intensity and urinary levels in the AHS/PES7,9 are based on

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                                           simultaneous collection of information on exposure determinants by questionnaire or
                                           observation and measurement of urinary levels of pesticides. Estimates of exposure intensity
                                           based on self-reported activities that occurred years in the past would probably be subject to
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                                           greater error. Second, the correlations between algorithm scores and urinary levels varied by
                                           pesticide in each of the three recent methodologic studies9,19–21 and the range was quite
                                           large, i.e., from r=0.12 to 0.80. Third the impact of misclassification on estimates of relative
                                           risks is influenced by the proportion of individuals exposed because this affects the
                                           sensitivity and specificity levels. For the range of exposure misclassification noted here, it
                                           appears that the proportion of the population exposed was less important than the accuracy
                                           of the exposure assessment. This conclusion, however, is based on relatively thin data and a
                                           more complete evaluation of this issue is needed.

                                           Some cautions about these findings are warranted. The AHS/PES monitoring study provides
                                           information on farmer owner/operators and may not be relevant for other pesticide
                                           applicators. The number of measurements on chlorpyrifos is quite small and estimates are
                                           relatively unstable. The differences between urinary levels and individual determinants and
                                           algorithm scores we observed need further evaluation to see if they are generalizable to
                                           other situations. However, these data provide useful evidence regarding the reliability of the
                                           exposure metrics used in the AHS and for the interpretation of AHS findings.

                                           We draw several conclusions from our methodologic work in the AHS. First, the accuracy
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                                           of reporting of pesticide use by farmers is comparable to that for many other factors
                                           commonly assessed by questionnaire for epidemiologic studies.23–28 Second, except in
                                           situations where exposure estimation is quite accurate (i.e., correlations of 0.70 or greater
                                           with true exposure) and true relative risks are 3.0 or more, pesticide misclassification may
                                           diminish risks estimates to such an extent that no association is obvious, which indicates
                                           false negative findings might be common. Third, it appears that an algorithm that
                                           incorporates several exposure determinants into an estimate of exposure intensity predicts
                                           urinary levels better than the individual exposure determinants considered here and would
                                           result in less attenuation of relative risk estimates. This provides some confirmation of the
                                           assumption that use of algorithms will improve exposure assessment. Finally, we note that
                                           even with the reduction in power from exposure misclassification, the AHS has identified
                                           some statistically significant links between various agricultural exposures and health
                                           outcomes.29–35

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                                           The findings and conclusions in this report are those of the author(s) and do not necessarily represent the views of
                                           the National Cancer Institute, National Institute of Environmental Health Sciences, U.S. Environmental Protection
                                           Agency, or National Institute for Occupational Safety and Health.


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                               Appendix
                                           The plots in Figure 1 were developed based on the following procedure. Let X represent the
                                           true exposure, where X=1 denotes exposed and X=0 denotes unexposed, and similarly let Z
                                           represent the observed exposure. Suppose r denotes the correlation coefficient for X and Z,
                                           and Sen = P(Z=1 | X=1), the sensitivity, i.e., the probability an observed exposure is a true
                                           exposure. These quantities represent relationships in the general study population. Since X
                                           and Z are binary random variables, then by definition




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                                          which can be rewritten as
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                                          and as a quadratic equation in P(Z=1),




                                          that can be solved to obtain P(Z=1). Since P(Z=1) = Sen P(X=1) + (1-Sp) P(X=0), where Sp
                                          = P(Z=0 | X=0) is the specificity, i.e., the probability that an observed non-exposure is a true
                                          non-exposure, we can solve for Sp as
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                                          We assume misclassification is non-differential, which implies that Sen and Sp are not
                                          related to case status, that is, the same in the general population and in case subjects. Note
                                          that while Sen and Sp do not depend on case status, the correlation coefficient, r, does
                                          depend on the probability of exposure. Thus, r in cases will in general not equal r in the
                                          general population if the exposure factor is related to disease outcome.

                                          For a cohort study and for disease outcome D, where D=1 denotes disease and D=0 denotes
                                          disease-free, the probability of disease for observed exposure Z=1, denoted P(D=1 | Z=1),
                                          can be expressed as




                                          where RRtrue is the true relative risk and RRtrue = P(D=1|X=1)/P(D=1|X=0). The third line
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                                          follows from the assumption of non-differential misclassification, or equivalently that the
                                          observed exposure provides no additional information on disease outcome once the true
                                          exposure status is known, i.e., P(D|X,Z) = P(D|X).

                                          Following a similar process, we obtain




                                          Thus, the observed relative risk (RRobs) can be expressed as




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                                          For each P(X=1), sensitivity, RRtrue and r, the corresponding RRobs for the figure is
                                          obtained by first solving the quadratic equation for P(Z=1), then calculating RRobs from the
                                          above equation.

                                          In a similar way, a comparable expression can be developed for true and observed relative
                                          risks, ORtrue and ORobs, respectively, in a case-control setting, namely,
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                                          Figure 1.
                                          Plots of observed relative risks based on different correlations between estimated exposure
                                          intensity scores and urinary levels (See appendix for further description of these plots).




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                                                                                               Table 1
                           Spearman correlations between calculated pesticide exposure intensity scores and post-application urinary
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                           levels in the Agricultural Health Study Pesticide Exposure Study.14

                               Intensity Score Source     2,4-D (N=68)    Chlorpyrifos+ (Liquid formulation) (N=4)   Chlorpyrifos+ (Granular formulation) (N=12)
                               Observation                0.39**          0.80                                       0.60*

                               Questionnaire              0.42**          0.80                                       0.58*

                           *
                            0.01<p<=0.05;
                           **
                                p<=0.001
                           +
                               Chlorpyrifos metabolite measured was 3,5,6-trichloro-2-pyridinol (TCP)
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                                                                                              Table 2
                           Spearman correlations between exposure surrogates and post-application urinary levels in the Agricultural
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                           Health Study Pesticide Exposure Study (Thomas et al., Personal Communication).

                               Pesticide Applied     KG Active Ingredient      Hours Mixed or Applied       Acres Treated

                               2,4-D (N=63 to 68)1   0.05                      0.09                         −0.09

                               Chlorpyrifos (N=16)   0.19                      −0.28                        −0.36

                           1
                            Number of individuals with monitoring data varied for the three determinants.
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